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                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                        PORTLAND DIVISION

DON’T SHOOT PORTLAND, a nonprofit                        Case No. 3:20-cv-00917-HZ
corporation, in its individual capacity,
NICHOLAS J. ROBERTS, in an individual
capacity and on behalf of themselves and all             SECOND AMENDED COMPLAINT
others similarly situated, MICHELLE
“MISHA” BELDEN, in an individual                         (Violations of Civil Rights: 42 U.S.C. §
capacity and on behalf of themselves and all             1983)
others similarly situated, ALEXANDRA
JOHNSON, in an individual capacity and on
behalf of themselves and all others similarly
situated,                                                JURY TRIAL DEMANDED

         Plaintiffs

         v.

CITY OF PORTLAND, a municipal
corporation, and MULTNOMAH COUNTY,
a political subdivision of the State,

         Defendant.

Plaintiffs, by and through their attorneys, allege:

                                       NATURE OF ACTION

                                                    1.

         This is a civil rights action brought pursuant to 42 U.S.C. § 1983. Plaintiffs bring this civil

rights action to stop the City of Portland and Multnomah County from using excessive force

against them in order to suppress plaintiffs’ right to free speech. For the past three weeks,

plaintiffs, along with tens of thousands of their fellow community members, and millions of

other people around the world, have taken to the streets to protest white supremacy and police

violence in the United States generally and in Portland specifically. The Portland Police Bureau

(“PPB”), like police departments all over the country, has responded with indiscriminate,

unchecked, and unconstitutional violence against protesters. At first, PPB used chemical agents
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(“tear gas”) against crowds of protesters, including plaintiffs, who had committed no criminal

acts, posed no threat of violence to any person, and were merely engaged in protected speech.

Plaintiffs were immediately concerned that the use of tear gas is particularly dangerous at the

present time because it is specifically designed to irritate the respiratory system and to cause

people to expel mucus and aspirated saliva. In the midst of a global pandemic, the deadly novel

COVID-19 virus is known to spread principally through aspirated saliva and mucus. Plaintiffs

sought and obtained a temporary restraining order prohibiting PPB from using tear gas except in

narrow circumstances. Following that order, PPB changed tactics and the Multnomah County

Sheriff Office (“MCSO”) increased its role, and both now use a variety of so-called “less lethal”

weapons indiscriminately against plaintiffs in their continued effort to silence speech. Plaintiffs

are entitled to a temporary restraining order, preliminary injunction, permanent injunction,

damages, and an award of attorneys’ fees and costs.

                                  JURISDICTION AND VENUE

                                                   2.

         This court has subject matter jurisdiction over plaintiffs’ claims of violation of federal

constitutional rights pursuant to 28 U.S.C. §§ 1331(a) and 1343 because the causes of action

arise under 42 U.S.C. § 1983.

                                                   3.

         Venue is proper in the District of Oregon pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to plaintiffs’ claims occurred in the District

of Oregon and because Defendants are subject to personal jurisdiction in the District of Oregon.

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                                             PARTIES

                                                  4.

         Plaintiff Don’t Shoot Portland is a not for profit corporation, incorporated under the laws

of the state of Oregon, whose principle place of business is Portland, Multnomah County,

Oregon. Don’t Shoot Portland is a Black-led organization whose fundamental mission is to

advocate for social and racial justice in Portland. Don’t Shoot Portland was formed in the wake

of the Ferguson uprising stemming from the police killing of Michael Brown and community

outrage at police violence directed at Black people. Don’t Shoot Portland provides support for

grassroots organizing and education on issues of police brutality, the school to prison pipeline,

and combatting white supremacy and racism. Don’t Shoot Portland holds ongoing events and

trainings related to its mission such as bystander intervention trainings, and advocates for

demilitarization of the police. Its programs include a children’s art and social justice council,

community clothing tree, and community legal clinics. Don’t Shoot Portland also advocates for

social justice and change though supporting direct action in a safe manner; participating,

organizing and supporting protests; providing know your rights trainings and information; and

providing jail support to people arrested during demonstrations. Don’t Shoot Portland recognizes

that mass mobilizations and demonstrations are necessary for politicians and the general public

to understand the importance of an issue in order to enact policies responsive to community

demands in order to create and foster a more equitable City. Don’t Shoot Portland has devoted

resources to identifying, counteracting, and addressing the practices alleged in this complaint,

and this diversion of resources has frustrated its mission. As a result of the PPB’s and MCSO’s

unconstitutional policy, practice, and customs, as alleged herein, Don’t Shoot Portland must

devote additional resources to educating, informing, and protecting protesters from

unconstitutional practices, and this diversion of resources has frustrated its mission.


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                                                  5.

         Plaintiff Nicholas J. Roberts (Pronouns: he/him), at the time of filing and all material

times, was a resident of Portland, Multnomah County, Oregon.

                                                  6.

         Plaintiff Michelle “Misha” Belden (Pronouns: They/Them), at the time of filing and all

material times, was a resident of Portland, Multnomah County, Oregon.

                                                  7.

         Plaintiff Alexandra Johnson (Pronouns: she/her), at the time of filing and all material

times, was a resident of Portland, Multnomah County, Oregon.

                                                  8.

         Defendant City of Portland is a political subdivision of the State of Oregon. The Portland

Police Bureau (“PPB”) is a department or division of the City. As a local governmental entity,

the City of Portland is a suable person under 42 U.S.C. § 1983. The people who used tear gas

and “less lethal” weaponry, including as described below, were employees or agents of the City

of Portland. On information and belief, each and every decision to indiscriminately use tear gas

and other “less-lethal” weapons against plaintiffs was made at or ratified by a sufficiently high

level as to be policy decision of the City of Portland.

                                                    9.

         Defendant Multnomah County is a political subdivision of the State of Oregon. The

Multnomah County Sherriff’s Office (“MCSO”) is a department or division of the County. As a

local governmental entity, the County is a suable person under 42 U.S.C. § 1983. The people

who used tear gas and “less lethal” weaponry, including as described below, were employees or

agents of Multnomah County. On information and belief, each and every decision to

indiscriminately use tear gas and other “less-lethal” weapons against plaintiffs was made and or


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ratified by a sufficiently high level as to be policy decision of Multnomah County. On

information and belief, the MCSO deputies who used tear gas and other “less-lethal” weapons

against plaintiffs were acting pursuant to the practice or policy of Multnomah County.

                                  GENERAL ALLEGATIONS

                                                10.

         Black Lives Matter.

                                                11.

         The disproportionate and excessive use of force against Black people by police officers in

the United States is a well-documented, systemic problem. It exists in every police department in

this country, including the PPB and MCSO.

I.       George Floyd

                                                12.

         On May 25, 2020, in Minneapolis, Minnesota, a Black man named George Floyd was

murdered on video by Officer Derek Chauvin of the Minneapolis Police Department while three

of his fellow officers watched and did nothing to intervene. Officer Chauvin knelt on Mr.

Floyd’s neck while Mr. Floyd pleaded for his life, repeatedly telling Chauvin that he could not

breathe. A bystander video of the murder quickly went viral, sparking outrage throughout the

country.

                                                13.

         For many Americans, and particularly Black Americans, the murder of George Floyd, in

broad daylight while being openly filmed by a witness, was the proverbial straw that broke the

camel’s back. Fed up with the empty platitudes and the endless yet ineffective “reforms” by their

political and law enforcement leaders, millions of Americans took to the streets in protest,




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demanding an end to police violence and white supremacy, and refusing to leave those streets

unless and until meaningful change is made.

                                                14.

         Protests against police violence have been met with police violence in nearly every city

around the country. Videos shared in the press and on social media show the police in this

country out of control: attacking journalists, attacking bystanders, threatening children,

assaulting people for insulting them, engaging in drive-by attacks with “less lethal” weapons,

planting weapons in the hands of people arrested, pulling off demonstrators’ CDC-recommended

facemasks and macing them, kettling whole groups of protesters only to launch tear gas at them,

driving their cars directly through crowds of people, using military helicopters in efforts to

terrify civilians, discussing plans to shoot protesters, and above all, using massive amounts of

tear gas in a massive systemic effort to stop people from protesting police violence. This violent

police response has only strengthened the resolve of protesters.

II.      Portland

                                                  15.

         Beginning on May 29, 2020, and every night since then, Portlanders have been

demonstrating in the streets demanding justice for George Floyd and demanding an end to police

violence. The PPB, like police departments throughout the country, have met these demands with

violence.

                                                  16.

         A focal point of conflict between PPB and MCSO (collectively “law enforcement”) on

one hand and protesters on the other has been the “Justice Center” in downtown Portland, which

was for many weeks, completely surrounded by fencing. The building houses PPB’s central

precinct, which includes command staff offices, a jail operated by MCSO where hundreds of


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humans – disproportionately Black – are housed in small cage like cells, and a small number of

courtrooms where the “business” of the criminal legal system perpetuating these racial

inequalities continues every working day. It is, in short, a perfect symbol of the harms the

protesters seek to address.

                                                  17.

         PPB and MCSO are determined to keep the protesters away from the Justice Center,

closing public streets, erecting fences, and guarding it with lines of law enforcement officers

stocked with weapons and wearing armor, helmets, and gas masks. Every night since the protests

began has ended with a standoff around the Justice Center between law enforcement and

protesters, culminating in law enforcement using a variety of tactics, including indiscriminately

spraying demonstrators with tear gas, rubber bullets, pepper balls, blast balls, Long Range

Acoustic Device (“LRAD”), flash bangs, and other impact munitions, while launching aerial

munitions into the air above their heads. After PPB and MCSO succeed in scattering protesters

throughout the streets of downtown Portland, PPB often kettle protesters and continue to assault

them with more pepper spray, impact munitions, and aerial munitions.

                                                  18.

         Since this court entered a Temporary Restraining Order on June 9, 2020, limiting the

PPB’s use of tear gas on protestors, PPB has escalated its use of rubber bullets, pepper balls,

blast balls, flash bangs, and other impact munitions on the crowd in an indiscriminate manner,

and MCSO has done the same.

III.     Tear Gas and COVID 19

                                                  19.

         Riot control agents (here referred to as “tear gas”) are chemical compounds that

temporarily make people unable to function by causing irritation to the eyes, mouth, throat,


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lungs, and skin. Several different compounds are considered to be riot control agents, including

chloroacetophenone (“CN”), chlorobenzylidenemalononitrile (“CS”), and oleoresin capsicum

(“OC”). OC is derived from capsaicin and designed to be an irritant and inflammatory agent

“primarily affect[ing] the respiratory tract.” CS is a nerve gas designed to inflict pain, and

degrade the mucous membranes in a person’s eyes, nose, mouth, and lungs. The PPB and the

MCSO uses both CS and OC, and possibly other agents.

                                                   20.

         PPB launches tear gas from canisters at protesters which releases the chemical agent in

gaseous form, exposing people through skin contact, eye contact, or breathing it in. PPB also

disharges chemical agents directly from handheld canisters, and by shooting FN303s with OC

payload or 40mm impact munitions with OC payload. These weapons spread their OC payload

upon impact with the ground or the body of person. Manufacturer’s materials for OC capsules

fired from FN303s describe this feature and practice of firing at the ground as “area saturation.”

                                                   21.

         Tear gas causes irritation to the area of contact within seconds of exposure, including eye

burning, excessive tearing, blurred vision and redness; runny nose, and nasal burning and

swelling; mouth burning, irritation, difficulty swallowing and drooling; chest tightness,

coughing, choking sensation, wheezing, shortness of breath; burns and skin rash. Some people

experience nausea and vomiting. Studies show that tear gas is linked to miscarriage and fetal

harm. Moreover, the 1993 International Chemical Weapons Convention, Geneva, bans tear gas

from use by military forces during war.

                                                   22.

         COVID-19, or Coronavirus, is a novel and serious respiratory virus which impacts the

upper and lower respiratory system. It is spread primarily through droplets when an infected


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persons coughs or sneezes, or through droplets of saliva or discharge from the nose. For all these

reasons, the CDC recommends people wear face coverings over the nose and mouth to help

prevent the spread of COVID-19. There is no vaccine nor cure for COVID-19, and no one has

prior immunity. As such, the virus has spread across the globe, and has been designated a global

pandemic. Those infected with COVID-19 can experience no symptoms, mild symptoms, or

severe symptoms. As such, and due to limited COVID-19 testing, the true rate of COVID-19

infections is unknown.

        Because of racism and its impact on economic and health disparities, Black people,

Indigenous people, and people of color are more likely to develop, suffer, and face complications

from COVID-19 than their white counterparts.1

                                                        23.

        Many recent reports link the use of tear gas to exacerbation of spreading of COVID-19.

Indeed, Oregon Health and Science University (“OHSU”) President Danny Jacobs, M.D.,

F.A.C.S., released a statement acknowledging that “Protests have long served as a positive agent

for social change in the U.S.,” and that law enforcement’s “use of tear gas and other chemical

means to control crowds has raised great concern among medical professionals as we

simultaneously try to manage a global pandemic.” The statement further opined:

        While large gatherings in general provide increased opportunities for the
        transmission of COVID-19, the use of tear gas could significantly exacerbate
        the spread. Tear gas is a chemical that attacks the mucous membranes of the
        eyes, nose, throat and lungs and causes severe pain and irritation; exposure to
        tear gas can result in blindness, bleeding, crying and coughing. The release of
        airborne droplets through tear gas-induced coughing could accelerate the
        spread of COVID-19 and lead to a surge in new cases. Damage to the




1
 See Multnomah County, New numbers show COVID-19 damage to communities of color; leaders call for better
data collection, (May 1, 2020), available at https://multco.us/novel-coronavirus-covid-19/news/new-numbers-show-
covid-19-damage-communities-color-leaders-call
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        respiratory tract can put individuals at greater risk of adverse outcomes if they
        become infected with COVID-19.2

                                                        24.

        The use of tear gas is, by its very nature, indiscriminate. Everyone must breathe, and

anyone who breathes in the area where police have used tear gas will be harmed by the gas. The

Defendants knew this when it decided to procure the tear gas, arm law enforcement with the tear

gas, and authorize police to use tear gas in its downtown core on protesters. The Defendants

knew that the gas would harm people who were not engaged in any unlawful activity and where

law enforcement had no probable cause that individuals had committed any crimes.

V.      Impact Munitions

                                                        25.

        In addition to using chemical weapons, law enforcement uses a variety of so-called “riot

control” weapons, some of which also contain OC as a chemical irritant. PPB uses two different

platforms for launching these munitions: an 18 mm, 15-round capacity, shoulder fired weapon

called an FN303; and 40 mm, two round capacity, shotgun-style launcher. PPB uses the FN303

to deploy munitions containing OC powder designed to cause chemical irritation to anyone

around the impact; munitions containing paint designed to both hurt the person and mark them

with paint; and munitions containing sand to both hurt the target and cause non-chemical

irritation. PPB uses the 40 mm launcher to fire foam tipped rounds designed to hurt people, foam

tipped rounds with OC inside, and two types of “flash-bang” grenades: one that emits light and

sound, and one that, in addition, spreads plastic shot over an area of people in order to hurt them.

PPB also uses hand-held grenade-style weapons that accomplish the same purposes of 40 mm



2
 Danny Jacobs, M.D., M.P.H., FACS, Statement on tear gas and nonviolent protests, Oregon Health & Sciences
University (June 4, 2020) available at https://news.ohsu.edu/2020/06/05/statement-on-tear-gas-and-nonviolent-
protests?linkId=90165009

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launched flash-bangs. The manufacturer’s website advertises that one of these hand-thrown

grenades will spread plastic projectiles over a 50 foot radius. MCSO also uses impact munitions

against protestors in an indiscriminate manner.

                                                          26.

        Neither the FN303s nor the 40 mm launchers are accurate at long distances, and become

inaccurate altogether after several deployments. The use of FN303s and 40 mm launchers in

crowd management settings has lead to the death of protesters, like in Boston.3 This fact has lead

to some police departments to cease use of FN303s altogether, like the Boston Police

Department, which repurposed these weapons by melting them into sewer caps.4 During the

recent protests following George Floyd’s murder, projectiles fired from FN303s have resulted in

the serious maiming of individuals.5

                                                          27.

        In the past and during the present protests, from May 31 to the present, law enforcement

has fired these impact munitions, particularly the FN303, indiscriminately into crowds of

passively resisting, or other peaceful protesters, both before and after PPB has declared an

unlawful assembly/civil disturbance, leaving large welts, bruises, and other similar injuries.

Protesters outside of the Multnomah County Justice Center attest to being fired upon and hit by

such munitions by law enforcement standing at the top of the stairs across the street despite

having not engaged in any behavior that was criminal, let alone threated anyone’s life or safety.

///

///


3
  The New York Times, Boston Police to Destroy Pepper-Spray Guns (Feb. 23, 2007), available at
https://www.nytimes.com/2007/02/23/us/23pepper.html
4
  Id.
5
  Kelli Kennedy, Protester hit in face by police rubber bullet wants answers, Houston Chronicle (June 12, 2020),
available at https://www.houstonchronicle.com/news/article/Protester-hit-in-face-by-police-rubber-bullet-
15336813.php
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IV.    Don’t Shoot Portland

                                                  28.

       Don’t Shoot Portland has been participating the local demonstrations and providing

assistance and support to protesters. It has participated in, monitored, and amplified calls to end

racist policing and the violent police response to nonviolent protesters. It strongly opposes the

use of tear gas, “less lethal” weapons, and any force against protesters.

V.     Nicholas J. Roberts

                                                  29.

       Nicholas J. Roberts is an Oregonian who lives in downtown Portland. He attended his

first protest on May 29, 2020, because he wanted to protest police brutality and the oppression of

Black people. He took precautions because of COVID-19, putting on gloves, face masks, and

safety glasses, and tried to practice social distancing. Mr. Roberts attended demonstrations on

May 29, 30, 31 and June 1, 2, 6, 10, 12 and 13, and saw peaceful protesters. Mr. Roberts was not

engaging in any unlawful activity when the PPB began launching tear gas into the largely

peaceful crowd protesting police violence in front of the Justice Center. Mr. Roberts attended

protests on May 30, May 31, and June 2, 6, and 13, and had a similar experience: law

enforcement launched tear gas and “less lethal” weapons at peaceful protesters demonstrating

against police violence at the Justice Center who were not engaged in any unlawful conduct. Mr.

Roberts has been attending demonstrations less since being subjected to law enforcement’s

weaponry.

                                                  30.

       Mr. Roberts was physically harmed and frightened by law enforcement’s use of tear gas

and “less lethal” weapons.




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VI. Michelle “Misha” Belden

                                                  31.

       Mx. Belden had attended the protest in Downtown Portland on June 2, 2020. They were

protesting against the brutality the country witnessed when George Floyd of Minneapolis, MN

was murdered by a Minneapolis Police Officer. They wished to be with their community as it

protested against police violence and racism. They were attending the march from SE Portland to

Pioneer Plaza in Downtown Portland. There, they heard a few explosions in the distance. They

arrived at the area around SW 3rd and SW Salmon. They found a crowd chanting, and mostly

calm. Suddenly, there was a flash bang then tear gas. Everyone started scattering. They were

trapped between walls of gas, a fence, and lines of police officers. The air was thick with tear

gas. They believed the police were trying to kill them. This continued for several blocks until

they reached safety around SW Naito and Harvey MLK.

                                                  32.

       Mx. Belden attended protests on June 9 and 10, 2020 as well, between the 9 pm-1 am at

the Justice Center in Downtown Portland. On June 9, the crowd of approximately 500 was

mostly peaceful, and some people rattled the fence erected outside the Justice Center. Law

enforcement administered a warning to back away from the fence, and while many protestors

backed away, some stayed close to the fence, but stopped rattling the fence. At about midnight,

when the crowd had dwindled to by approximately 40%, PPB fired flash bangs and OC

munitions to disperse the crowd without any warning. To Mx. Belden and others, it looked and

sounded like tear gas, despite the TRO entered in this case, causing Mx. Belden to believe the

PPB will never stop using excessive force, and that protesters will all be subject to arrest and

excessive force at all times, denying them an opportunity to have a peaceful protest. On June 10,

one part of the fence was taken down, away from the Justice Center and where law enforcement


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were stationed. Protesters were simply standing around. Two people, one clothed and one not,

ran behind the fenced off area. After the first person went into the fenced area, law enforcement

deployed chemical agents, impacting the nearby protestors. Law enforcement then deployed

“less lethal” weapons, including OC blasts, and flash bang. Mx. Belden left the scene, because

they felt law enforcement was escalating and they did not want to be caught up in it, and did not

want to get gassed again. As a result, Mx. Belden gave up on protesting for the rest of that week.



                                                 33.

       Mx. Belden was physically harmed and frightened by law enforcement’s use of tear gas

and “less lethal” weapons.

V. Alexandra Johnson

                                                 34.

       Alexandra Johnson has attended the protests in Downtown Portland every day since May

31, 2020, because Black Lives Matter and she wants to make her community safer and more

equitable. Ms. Johnson has not witnessed any rioting or looting..

                                                 35.

       For example, on the night of June 15, 2020, Ms. Johnson was at the Justice Center where

a crowd of about 100 to 200 people were gathered. The crowd was chanting, but she did not see

anyone touch the fence or throw any projectiles. Although PPB announced that it was unlawful

to point a laser at police officers, Ms. Johnson did not have a laser, and was merely chanting with

the crowd and livestreaming some of the protest. Ten minutes later, the police began shining two

high-powered flashlights directly into the eyes of protesters along the fence. PPB also made an

announcement not to throw projectiles over the fence. Minutes later, PPB targeted her with

multiple spotlights, including a powerful light pointing at her camera for 30 seconds straight. The


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light hurt her eyes even though she was more than 50 feet away from the police. When she

stopped filming, the police stopped targeting her with their lights. After she moved to the

intersection of SW 3rd Ave and Main, suddenly and without warning, law enforcement officers

stationed above the crowd on an upper floor of the Justice Center began shooting “less lethal”

munitions into the crowd. She began filming again and announced to the livestream that police

had started firing into the crowd without indiscriminately and without warning. A moment later,

a law enforcement officer about 30 feet away aimed directly at her and shot at her, ripping open

her left hand and causing immediate pain and injury. Medics nearby washed her wound, applied

pressure, wrapped it, and helped her calm her breathing. About five minutes later, PPB declared

an unlawful assembly and ordered the crowd to disburse or be subject to arrest or force. As she

tried to leave the area, the police began using flashbang grenades, which exploded just feet away

from her. The crowd of protesters was also trying to disperse calmly and safely while the police

continued to use explosive grenades and smoke grenades.

                                                  36.

       She eventually went to the hospital, where she received three stitches. Days later, when

she removed the bandage, the swelling continued and her injuries were extensive. An x-ray

revealed a broken bone in her hand. She is unable to close her fist and is in significant pain

while doing small tasks, like pulling up my own pants or lifting a cup of coffee and must revert

to only using her other hand. She also has major bruising on the palm of her hand and inside of

her thumb making it difficult to perform her job duties. As a result of the above, she feels

fearful of police, and has reduced her involvement in the protests.

                                                  37.

       Ms. Johnson was physically harmed and frightened by law enforcement’s use of tear gas

and “less lethal” weapons.


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                                    CLASS ALLEGATIONS

                                                   38.

       Plaintiffs Nicholas J. Roberts, Misha Belden, and Alexandra Johnson bring this action

pursuant to Rules 23(a) and 23(b)(1) and (2) of the Federal Rules of Civil Procedure on behalf of

themselves and a class of similarly situated individuals.

                                                   39.

       The proposed class is defined as follows: all individuals who currently or who will in the

future engage in protest activities that follow the death of George Floyd opposing police violence

and white supremacy. This include protesters who engage in passive resistance to the orders of

police, but does not those who engage in conduct beyond passive resistance.

                                                   40.

       The class period commences on May 25, 2020 and extends to the date on which

Defendants are enjoined from, or otherwise ceases, enforcing their unconstitutional policy,

practice, and custom of using indiscriminate excessive force, including but not limited to the use

of tear gas and “less lethal” weapons, irrespective of the individualized conduct of specific

protesters. Specifically excluded from the class are Defendants and any and all of their respective

affiliates, legal representatives, heirs, successors, employees, or assignees.

                                                   41.

       This action has been brought and may properly be maintained as a class action under

Federal law and satisfies numerosity, commonality, typicality, and adequacy requirements for

maintaining a class action under Fed. R. Civ. P. 23(a).

                                                   42.

       The Class is so numerous, on information and belief, over 1,000, that joinder is

impractical. Maintaining individual actions would create a risk of “inconsistent or varying


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adjudications with respect to individual class members that would establish incompatible

standards of conduct for the party opposing the class.” Fed. R. Civ. P. 23(b)(1)(A). Multiple

courts issuing multiple injunctions governing use of force standards for law enforcement would

be untenable.

                                                    43.

   Common questions of law and fact exist as to all members of the class. These legal and

factual questions include but are not limited to:

   •   By engaging in the tactics alleged herein, have Defendants violated the First

       Amendment?

   •   By engaging in the tactics alleged herein, have Defendants violated the Fourth

       Amendment?

   •   By allowing an unconstitutional pattern, practice, and custom of using indiscriminate

       excessive force against protesters, have Defendants violated the First and Fourth

       Amendments?

   •   Have Defendants exhibited a deliberate indifference to the unconstitutional conduct

       alleged herein?

   •   By utilizing indiscriminate force, such as tear gas, pepper spray, and impact munitions,

       have Defendants unlawfully chilled the speech rights of protesters?

                                                    44.

       Plaintiffs Robert’s, Belden’s, and Johnson’s claims are typical of the claims of the class

members. The harms Plaintiffs suffered and will suffer, as a result of Defendants’ courses of

conduct, are typical of the harms suffered by class members. “[T]he party opposing the class has

acted or refused to act on grounds that apply generally to the class, so that final injunctive relief

or corresponding declaratory relief is appropriate respecting the class as a whole[.]” Fed. R. Civ.


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P. 23(b)(1)(A). There is no allegation that Plaintiffs have been targeted because of anything

unique to them as individuals.

                                                    45.

       Plaintiffs Roberts, Belden, and Johnson will fairly and adequately protect the interest of

the Class. Plaintiffs have no interests adverse to the interests of the class. Plaintiffs retained

counsel with experience and success in the prosecution of civil rights litigation. Counsel for

Plaintiffs know of no conflicts among class members or between counsel and class members.

                                                    46.

       Plaintiffs Roberts, Belden, and Johnson seek injunctive and declaratory relief. Any

injunction requiring Defendants to address their constitutional violations would prevent other

litigants from seeking a different injunction. Plaintiffs Roberts, Belden, and Johnson seek class

certification under Fed. R. Civ. P. 23(b)(1).

                               FIRST CLAIM FOR RELIEF
(Excessive Force – Violation of Fourth Amendment – 42 U.S.C. § 1983 brought on behalf of
  Plaintiff Don’t Shoot Portland Individually and Plaintiffs Roberts, Belden, and Johnson
                            Individually and the Putative Class)

                                                    47.

       Plaintiffs restate and incorporate herein all previous paragraphs of this Complaint.

                                                    48.

Count 1: Municipal Liability – Unlawful Practice or Policy Allowing Indiscriminate Use of
Force as Tactic to Disperse Crowd.

       The City of Portland and Multnomah County each have an official policy allowing the

use of “riot control” and “less lethal” weapons against a crowd whenever it determines that the

crowd creates a “civil disturbance.” This policy has no relationship with the Graham v. Connor

Fourth Amendment standard regulating the use of force against individuals. It expressly allows




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for the indiscriminate use of force against a crowd of people, including those engaging in passive

resistance, in violation of the Fourth Amendment.

        Alternatively, even if the policy itself is constitutional, PPB’s and MCSO’s actual

practice and custom is to allow the use of “riot control” and “less lethal” weapons against a

crowd both before and after an “unlawful assembly” and/or a “civil disturbance” has been

declared, even when a substantial number of people in that crowd, or even the majority of that

crowd, are engaged only in the passive resistance to an order.

                                                      49.

        On May 29, 30, 31 and June 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19 and

20, 2020, PPB and MSCO deployed tear gas and/or other “less lethal” weapons on large crowds

of peaceful protesters and continued to deploy tear gas and/or “less lethal” weapons at people

running away. Videos documenting the indiscriminate nature of this force deployment are

rampant.6 The City and County have tacitly and explicitly authorized the use of indiscriminate

crowd control munitions on crowds of protesters by justifying uses of similar tactics, including

“less lethal” weapons shot indiscriminately into crowds of protesters, at protests on these dates.

        The City and County, acting pursuant to this policy, custom, or practice, unlawfully used

tear gas and “less lethal” weapons against plaintiffs as alleged above.

                                                      50.

Count 2: Municipal Liability – Action of Policymaking Officials

        The decision to use riot control and “less lethal” weapons against the crowds containing

plaintiffs on May 29, 30, 31 and June 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19

and 20, made by officials of the PPB or the County who are sufficiently senior that the decision


6
 E.g. https://twitter.com/mrolmos/status/1268072714926878720?s=21;
https://twitter.com/matcha_chai/status/1268043556913987584?s=21



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may fairly be said to represent official policy of the City of Portland or the County. Former PPB

Chief Jami Resch was, and PPB Chief Chuck Lovell is the highest level of authority within the

PPB, and Mayor of Portland Ted Wheeler, also the Police Commissioner, has acknowledged

receiving minute-to-minute reports from PPB of events on the ground at the protest. The decision

to use riot control and “less lethal” weapons was made by official policy makers the Chief of

PPB and the Mayor of Portland.

                                                   51.

Count 3: Municipal Liability -- Ratification

       Former PPB Chief Jamie Resch stated in a news conference on June 3 that the decision to

use tear gas, other riot control, and “less lethal” weapons against a crowd of protesters the

evening prior was made by incident commanders at the scene. As such, the decision to use tear

gas and “less lethal” weapons against the crowds containing plaintiffs on May 29, 30, 31 and

June 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19 and 20 was made by incident

commanders on scene. As alleged above, these decisions were ratified by the Chief of PPB and

the Mayor of Portland.

                                                   52.

       The above-described conduct was a proximate cause of harm to Plaintiffs.

                            SECOND CLAIM FOR RELIEF
(Violation of the First Amendment – 42 U.S.C. § 1983 brought on behalf of Plaintiff Don’t
Shoot Portland Individually and Plaintiffs Roberts, Belden, and Johnson Individually and
                                  the Putative Class)

                                                   53.

       Plaintiffs restate and incorporate herein all previous paragraphs of this Complaint.

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                                                   54.

        Plaintiffs were engaged in constitutionally protected acts of free speech, including public

demonstration opposing racism and police violence against Black people. Plaintiffs will continue

to do so in the future.

                                                   55.

        PPB’s and the MCSO’s use of force against Plaintiffs for engaging in First Amendment

protected activity and, in an effort, to deter future similar activity, evidences a pattern and

practice of unconstitutional conduct that is certain to continue absent any relief.

                                                   56.

        Plaintiffs reasonably fear the PPB’s and the MCSO’s continued use of tear gas and “less

lethal” weapons on protesters, and PPB’s the MCSO’s acts would, and did, chill a reasonable

person from continuing to engage in protected First Amendment Activity.

                                                   57.

Municipal Liability – First Amendment

        The City of Portland and Multnomah County have a custom and practice of using

militarized force against anti-police protesters, as demonstrated by the use of tear gas and “less

lethal” weapons against those protesting outside the Justice Center, a significant symbolic

representation of the issues being protested. The Defendants’ use of force was intended to punish

a group of protesters en masse for their political speech, and to deter further similar expressions

of speech. The supervisory decision to fire tear gas and “less lethal” weapons indiscriminately

into a crowd of protesters demonstrating outside the Justice Center was made in retaliation for

the protesters’ protected speech condemning the police at the symbolic embodiment of the

protest subject matter and to chill the expression of further similar speech.




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                                                   58.

       The supervisor defendants who authorized, made, and ratified the decision to attack anti-

police demonstrators are sufficiently senior so that their decision can fairly be said to be the

official policy of the City of Portland.

                                                   59.

       The above-described conduct was a proximate cause of harm to Plaintiffs.

                                            DAMAGES

       As a direct and proximate result of the conduct of the Defendants, Plaintiffs suffered

economic and noneconomic damages, including interference with their First Amendment rights,

a greater distrust in the PPB, MCSO, and law enforcement in general, fear of increased exposure

to the novel COVID-19 virus, emotional distress, physical pain, and discomfort and suffering.

                     REASONABLE ATTORNEY’S FEES AND COSTS

       42 U.S.C. § 1988(b) allows “the prevailing party . . . a reasonable attorney’s fee as part of

the costs. . .” in an action brought under 42 U.S.C. § 1983.

       Plaintiffs requests that the court grant reasonable attorneys’ fees in this action.

                                     PRAYER FOR RELIEF

WHEREFORE, plaintiffs pray for their costs and disbursements incurred herein and for the

following in accordance with the proof at trial:

       1.      A temporary restraining order, prohibiting the City of Portland and Multnomah

               County from using tear gas as a crowd control measure;

       2.      A temporary restraining order, prohibiting the City of Portland and Multnomah

               County from using “less lethal” weapons, including but not limited to OC spray or

               munitions, impact munitions, LRAD, sound cannons, etc., against protestors who

               are only engaged in passive resistance, including passive resistance to an order to


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             disperse. In any case where PPB and MCSO uses less lethal weapons, it must

             insure that no person who is engaged in only passive resistance is impacted or

             effected by those weapons.

      3.     A permanent injunction, prohibiting the City of Portland and Multnomah County

             from using tear gas as a crowd control measure;

      4.     A permanent injunction, prohibiting prohibiting the City of Portland and

             Multnomah County from using “less lethal” weapons, including but not limited to

             OC spray or munitions, impact munitions, LRAD, sound cannons, etc., against

             protestors who are only engaged in passive resistance, including passive

             resistance to an order to disperse. In any case where PPB and MCSO use less

             lethal weapons, they must insure that no person who is engaged in only passive

             resistance is impacted or effected by those weapons;

      5.     A declaration that Portland Police Bureau’s Crowd Control Directive, 0635.10, as

             written and/or as applied violates the Fourth Amendment to the United States

             Constitution;

      6.     Compensatory damages to Plaintiffs Roberts, Belden and Johnson;

      7.     Attorney’s fees; and

      7.     Any other relief the court deems proper.


DATED this 24th day of June 2020.

                                           s/J. Ashlee Albies
                                           J. Ashlee Albies, OSB No. 051846
                                           Whitney B. Stark, OSB No. 090350
                                           Maya Rinta, OSB No. 195058
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